             Case 3:10-cr-02935-DMS Document 42 Filed 11/02/20 PageID.83 Page 1 of 2
AO 245D (CASD Rev. 1/19) Judgment in a Criminal Case for Revocations


                                     UNITED STATES DISTRICT COURT
                                           SOUTHERN DISTRICT OF CALIFORNIA
             UNITED STATES OF AMERICA                                 JUDGMENT IN A CRIMINAL CASE
                                                                      (For Revocation of Probation or Supervised Release)
                                                                      (For Offenses Committed On or After November I, 1987)
                                V.

               FRANCISCO OSUNA-OSUNA                                     Case Number:            10CR29,,i::-   ~-   ,fC'
                                                                                                                              •~•-•o•,•




                                                                      Elizabeth Barros FD                                   Fl f_EQ
                                                                      Defendant's Attorney
REGISTRATION NO.                34297359                                                                                    NOV           L 2020
•-                                                                                                              CLERK :.JS DoS.,.h ST CO;.'n
                                                                                                           SOU!HEf-:", C:S.,.f(1C"" e;.: C:\L1 Jl.'f;d".
THE DEFENDANT:                                                                                             SY            ;,,,                 t:f:f: __,TY
D admitted guilt to violation ofallegation(s) No.           1

 D    was found guilty in violation ofallegation(s) No.
                                                           ------------ after denial of guilty.
 Accordingly, the court has adjudicated that the defendant is guilty of the following allegation(s):

 Allegation Number                   Natnre of Violation

                                     Committed a federal, state or local offense




      Supervised Release is revoked and the defendant is sentenced as provided in page 2 through 2 of this judgment.
 The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
         IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
 change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
 judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and United States attorney of any
 material change in the defendant's economic circumstances.


                                                                       Date oflmposition of Sentence
                                                                                        ......


                                                                       HON. Dana lvr Sabrnw
                                                                       UNITED STATES DISTRICT JUDGE
           Case 3:10-cr-02935-DMS Document 42 Filed 11/02/20 PageID.84 Page 2 of 2

AO 245D (CASD Rev. 01/19) Judgment in a Criminal Case for Revocations

DEFENDANT:                FRANCISCO OSUNA-OSUNA                                                    Judgment - Page 2 of 2
CASE NUMBER:              10CR2935-DMS

                                                 IMPRISONMENT
 The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of:
 FOUR (4) MONTHS with credit for custody time since 7/31/2020.




 •     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 D     The court makes the following recommendations to the Bureau of Prisons:




 •     The defendant is remanded to the custody of the United States Marshal.

 D     The defendant shall surrender to the United States Marshal for this district:
       •    at _ _ _ _ _ _ _ _ A.M.                           on
       •    as notified by the United States Marshal.

       The defendant shall surrender for service of sentence at the institution designated by the Bureau of
 •     Prisons:
       •     on or before
       •     as notified by the United States Marshal.
       D     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on   _ _ _ _ _ _ _ _ _ _ _ _ _ to _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

 at _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL




                                                                                                       I0CR2935-DMS
